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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:                                                  Chapter 11

 iMedia Brands, Inc., et al.,                            Case No. 23-10852 (KBO)

                          Debtors.                       (Joint Administration Requested)


              MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF STEVEN E. FOX
       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission
pro hac vice of Steven E. Fox, Esq., of Reimer & Braunstein LLP to represent C&B Newco, LLC and
C&B IPCO, LLC in the above-captioned cases and any adversary proceeding related thereto.

 Dated: June 29, 2023                           By: /s/ Marcy J. McLaughlin Smith
                                                Marcy J. McLaughlin Smith (DE No. 6184)
                                                TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                Hercules Plaza, Suite 5100
                                                1313 N. Market Street, P.O. Box 1709
                                                Wilmington, DE 19899-1709
                                                Telephone:      (302) 777-6500
                                                E-mail: marcy.smith@troutman.com
                                                Co-Counsel for C&B Newco, LLC and C&B IPCO, LLC

                 CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the State of New York, and submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action.
I also certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District
Court Fund revised 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk of the
Court for District Court.

Dated: June 29, 2023                             /s/ Steven E. Fox
                                                 Steven E. Fox
                                                 REIMER & BRAUNSTEIN LLP
                                                 Times Square Tower
                                                 Seven Times Square, Suite 2506
                                                 New York, NY 10036
                                                 Telephone: (212) 789-3150
                                                 Facsimile: (212) 719-0140
                                                 Email: sfox@riemerlaw.com


                                     ORDER GRANTING MOTION

          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.



     Dated: June 29th, 2023                                KAREN B. OWENS
     Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE


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